Case 2:11-cv-07237-R-JEM Document 22 Filed 05/11/12 Page 1 of 8 Page ID #:74



  1   ANDRÉ BIROTTE JR.
      United States Attorney
  2   LEON W. WEIDMAN
      Assistant United States Attorney
  3   Chief, Civil Division
      KEVIN B. FINN
  4   Assistant United States Attorney
      Calif. Bar No. 128072
  5        Federal Building, Suite 7516
           300 North Los Angeles Street
  6        Los Angeles, California 90012
           Telephone: (213) 894-6739
  7        Fax:               894-7327
           email:     kevin.finn@usdoj.gov
  8
      Attorneys for Federal Defendants
  9

 10                                        UNITED STATES DISTRICT COURT

 11                             FOR THE CENTRAL DISTRICT OF CALIFORNIA

 12                                                  WESTERN DIVISION

 13
       DANNY JOE HIRSCHFIELD,
 14                                                             Case No.   CV 11-7237 R (JEM)
                             Plaintiff,
 15                                                             NOTICE OF MOTION AND MOTION
                                   v.                           TO DISMISS; MEMORANDUM OF
 16                                                             POINTS AND AUTHORITIES
       U.S. DEPARTMENT OF HOMELAND
 17    SECURITY AND UNITED STATES                               DATE: June 19, 2012
       OF AMERICA,                                              TIME: 10:00 a.m.
 18                                                             CTRM: C
                             Defendants.
 19
                                                                Honorable John E. McDermott
 20

 21

 22             TO PLAINTIFF DANNY JOE HIRSCHFIELD:
 23             NOTICE IS HEREBY GIVEN to plaintiff Danny Joe Hirschfield
 24   that the Federal Defendants, U.S. Department of Homeland
 25   Security and United States of America, will bring for hearing
 26   a motion to dismiss before the Honorable John E. McDermott,
 27   United States Magistrate Judge, at the United States District
 28   Courthouse, Courtroom C, 312 N. Spring Street, Los Angeles,

      CV11.7237.20120511.KBF.Motion to Dismiss.DOC          1
Case 2:11-cv-07237-R-JEM Document 22 Filed 05/11/12 Page 2 of 8 Page ID #:75



  1   California 90012, on Tuesday, June 19, 2012, at 10:00 a.m., or

  2   as soon thereafter as the parties may be heard.

  3             This motion is made pursuant to Rules 12(b)(1) and

  4   12(b)(6) of the Federal Rules of Civil Procedure on the

  5   grounds that the Court has no subject matter jurisdiction

  6   herein, and that plaintiff‟s complaint fails to state a cause

  7   of action upon which relief may be granted.

  8             This motion will be based upon these moving papers, the

  9   Memorandum of Points and Authorities filed herein, and such

 10   other and further arguments as may be submitted to the Court

 11   in the future.

 12             This motion is exempt from the conference of counsel

 13   requirements of Local Rule 7-3 as plaintiff is pro se.

 14   DATED:           May 11, 2012                  ANDRÉ BIROTTE JR.
                                                     United States Attorney
 15                                                  LEON W. WEIDMAN
                                                     Assistant United States Attorney
 16                                                  Chief, Civil Division

 17
                                                      /s/ Kevin B. Finn
 18                                                  KEVIN B. FINN
                                                     Assistant United States Attorney
 19
                                                     Attorneys for Federal Defendant
 20

 21

 22

 23

 24

 25

 26

 27

 28

      CV11.7237.20120511.KBF.Motion to Dismiss.DOC   2
Case 2:11-cv-07237-R-JEM Document 22 Filed 05/11/12 Page 3 of 8 Page ID #:76



  1                  MEMORANDUM OF POINTS AND AUTHORITIES

  2                           I.   INTRODUCTION

  3        On September 7, 2011, plaintiff Danny Joe Hirschfield

  4   Esq. filed his Complaint “against1 U.S. Dept. of Homeland

  5   Security Federal Protective Service ICE” for money damages for

  6   alleged pain, suffering and constitutional violations. (Compl.

  7   p. 1.)   Plaintiff does not allege any specific causes of

  8   action but appears to seek money damages for alleged “wrongful

  9   arrest, harassment, use of excessive force, bodily injury and

 10   false imprisonment.” (Id., p. 8.)

 11        On August 8, 2011, the District Court for the District of

 12   Columbia transferred the case to this Court.         On May 10, 2012,

 13   the Federal defendants filed a Notice of Substitution

 14   substituting the United States of America for Edward Lott and

 15   a proposed Order Correcting Caption on May 8, 2013, and the

 16   Court ordered the caption corrected to reflect the

 17   substitution of the United States for Edward Lott.

 18                                   II. ARGUMENT

 19        A. Legal Standard Governing Rule 12(b)(1) Motions

 20        A party mounting a Rule 12(b)(1) challenge to the Court‟s

 21   jurisdiction may do so either on the face of the pleadings or

 22   by presenting extrinsic evidence for the Court‟s

 23   consideration.    See White v. Lee, 227 F.3d 1214, 1242 (9th Cir.

 24   2000).   In either case, plaintiff bears the burden of

 25   demonstrating that the Court has subject matter jurisdiction

 26   to hear the action. See Kokkonen v. Guardian Life Ins. Co.,

 27
      1
        Plaintiff‟s complaint is handwritten in capital letters.
 28   Defendant has used lower case letters in quotations from
      plaintiff‟s complaint unless a capital letter is appropriate.
      CV11.7237.20120511.KBF.Motion to Dismiss.DOC 3
Case 2:11-cv-07237-R-JEM Document 22 Filed 05/11/12 Page 4 of 8 Page ID #:77



  1   511 U.S. 375, 377 (1994); Stock West, Inc. v. Confederated

  2   Tribes, 873 F.2d 1221, 1225 (9th Cir. 1989).              In deciding a

  3   factual jurisdictional attack, Courts may weigh the evidence

  4   presented, and determine the facts in order to evaluate

  5   whether they have the power to hear the case. See Roberts v.

  6   Corrothers, 812 F.2d 1173, 1177 (9th Cir. 1987).

  7             B. Sovereign Immunity Bars Plaintiff‟s Claims

  8             An action against the United States is barred, and no

  9   subject matter jurisdiction exists, if the United States has

 10   not explicitly waived its sovereign immunity against suit.

 11   See, e.g., United States v. Mitchell, 463 U.S. 206, 212

 12   (1983)(“It is axiomatic that the United States may not be sued

 13   without its consent and that the existence of consent is a

 14   prerequisite for jurisdiction”); Kaiser v. Blue Cross of

 15   California, 347 F.3d 1107, 1117 (9th Cir. 2003); Hodge v.

 16   Dalton, 107 F.3d 705, 707 (9th Cir. 1996).              “When the

 17   government is sued, the plaintiff in that suit bears the

 18   burden of showing that the government has waived its sovereign

 19   immunity.” Krieg v. Mills, 117 F.Supp.2d 964, 967 (N.D. Cal.

 20   2000)(citing Sopcak v. Northern Mountain Helicopter Service,

 21   52 F.3d 817, 818 (9th Cir. 1995)).

 22             “Any waiver of immunity must be „unequivocally

 23   expressed,‟ and any limitations and conditions upon the waiver

 24   „must be strictly observed and exceptions thereto are not to

 25   be implied.‟” Hodge, 107 F.3d at 707 (quoting Lehman v.

 26   Nakshian, 453 U.S. 156, 160 (1981)).               “As the party asserting

 27   a claim against the United States, [plaintiff has] the burden

 28   of „demonstrating an unequivocal waiver of immunity.‟” United

      CV11.7237.20120511.KBF.Motion to Dismiss.DOC   4
Case 2:11-cv-07237-R-JEM Document 22 Filed 05/11/12 Page 5 of 8 Page ID #:78



  1   States v. Park Place Associates, Ltd., 563 F.3d 907, 924 (9th

  2   Cir. 2009)(quoting Cunningham v. United States, 786 F.2d 1445,

  3   1446 (9th Cir. 1986)).                         Thus, “[u]nless [plaintiff] satisf[ies]

  4   the burden of establishing that [her] action falls within an

  5   unequivocally expressed waiver of sovereign immunity by

  6   Congress, it must be dismissed.” Dunn & Black, P.S. v. United

  7   States, 492 F.3d 1084, 1088 (9th Cir. 2007).                         Indeed, until

  8   such a showing is made, “[i]t is to be presumed that [the]

  9   cause lies outside this limited jurisdiction.” Kokkonen, 511

 10   U.S. at 377.

 11             C. The Court Lacks Jurisdiction

 12             1. Plaintiff‟s Tort Claims Should be Dismissed

 13             Plaintiff sues the Department of Homeland Security,

 14   Federal Protective Service (“D.H.S.”), for allegedly

 15   handcuffing him violently and twisting his wrist.                         Plaintiff

 16   also appears to raise a claim against either the Federal

 17   Public Defenders Office or the District Court for depriving

 18   him of life, liberty and property without due process when the

 19   Court allegedly issued a bench warrant for plaintiff. (Compl.,

 20   p. 5.)           Plaintiff alleges that he received misinformation from

 21   the Public Defenders Office regarding the status of the

 22   warrant. (Id., p. 4-5.)                         Plaintiff also appears to allege that

 23   the Court violated his constitutional rights when it issued

 24   the warrant without bail. (Id., p. 5.)

 25             Plaintiff appears to be attempting to raise tort claims

 26   against D.H.S. because he seeks money damages and alleges

 27   personal injuries as a result of the wrongful actions of its

 28   officers while on duty.                         However, it is axiomatic that the

      CV11.7237.20120511.KBF.Motion to Dismiss.DOC          5
Case 2:11-cv-07237-R-JEM Document 22 Filed 05/11/12 Page 6 of 8 Page ID #:79



  1   United States, as sovereign, is immune from suit except to the

  2   extent it consents to be sued.                     See United States v. Mitchell,

  3   445 U.S. 535, 538, 100 S.Ct. 1349, 63 L.Ed. 607 (1980); Hill

  4   v. United States, 571 F.2d 1098, 1101 (9th Cir. 1978).                    D.H.S.

  5   is not a corporate entity which Congress has authorized to be

  6   sued eo nomine; the party who sues the sovereign bears the

  7   burden of pointing to such an unequivocal waiver of sovereign

  8   immunity.              Holloman v. Watt, 708 F.2d 1399, 1401 (9th Cir.

  9   1983).           Congress has not authorized an action against D.H.S.

 10   eo nomine, and as such, the Court lacks jurisdiction over

 11   D.H.S. for any claims.

 12             Pursuant to the Federal Tort Claims Act, (“FTCA”), 28

 13   U.S.C. § 2670 et seq., the United States has substituted into

 14   the action.                 The F.T.C.A. is the exclusive procedure and

 15   remedy for recovery in connection with a tort committed by the

 16   United States, an agency of the United States or employee of

 17   the United States acting in his official capacity. 28 U.S.C. §

 18   2679.

 19             Under the FTCA, an action against the United States is

 20   the only remedy available for an agency‟s tortious action.

 21   Therefore, the Court lacks jurisdiction over an action against

 22   D.H.S. for its alleged tortious conduct.                    As such, an action

 23   under 28 U.S.C. § 2674 cannot be brought against D.H.S.

 24   Blackmar v. Guerre, 342 U.S. 512, 72 S.Ct. 410 (1952).                    Since

 25   plaintiff has not named either the Public Defenders Office or

 26   the District Court, any claims plaintiff potentially alleges

 27   against them can be dismissed.

 28             Finally, plaintiff has not alleged exhaustion of his

      CV11.7237.20120511.KBF.Motion to Dismiss.DOC   6
Case 2:11-cv-07237-R-JEM Document 22 Filed 05/11/12 Page 7 of 8 Page ID #:80



  1   administrative tort remedies before bringing a tort action.

  2   Under the FTCA, a party may not maintain an action at law

  3   against the United States "unless the claimant shall have

  4   first presented the claim to the appropriate Federal agency

  5   and his claim shall have been finally denied."                   28 U.S.C. §

  6   2675(a).             This claim presentation requirement is an absolute

  7   prerequisite to subject matter jurisdiction in the District

  8   Court, and it cannot be waived.                    See Burns v. United States,

  9   764 F.2d 722, 724 (9th Cir. 1985); Blain v. United States, 522

 10   F.2d 289, 291 (9th Cir. 1977).

 11             The burden is upon the plaintiff to affirmatively plead

 12   that it has complied with this claim requirement.                    Gillespie

 13   v. Civiletti, 629 F.2d 637, 640 (9th Cir. 1980).                   Therefore,

 14   the Court should dismiss plaintiff‟s tort claims against both

 15   D.H.S. and the United States.

 16             2. The Court Should Dismiss Any Other Claims

 17             Plaintiff appears to allege violations of the

 18   constitution against both D.H.S. and either the Federal Public

 19   Defenders Office or the District Court.                   To the extent

 20   plaintiff raises claims arising from constitutional

 21   violations, the Court lacks jurisdiction over those claims.

 22   The United States has not waived its sovereign immunity for

 23   constitutional claims against either itself or against any of

 24   its agencies, such as D.H.S. See, F.D.I.C. v. Meyer, 510 U.S.

 25   471, 486, 114 S.Ct. 994, 1005-06 (1994); Daly-Murphy v.

 26   Winston, 837 F.2d 348, 356 (9th Cir. 1987)(“[a]n individual may

 27   not maintain a Bivens action for monetary damages against the

 28   United States.”)

      CV11.7237.20120511.KBF.Motion to Dismiss.DOC   7
Case 2:11-cv-07237-R-JEM Document 22 Filed 05/11/12 Page 8 of 8 Page ID #:81



  1             Therefore, the Court should dismiss the remainder of the

  2   complaint to the extent it raises constitutional violations

  3   against D.H.S. or the United States.                         As mentioned above,

  4   since neither the Public Defenders Office nor the District

  5   Court is a party to the action, any allegations against them

  6   are not at issue and should not preclude dismissal of the

  7   complaint.

  8                                                  III. CONCLUSION

  9             Therefore, plaintiff has failed to establish jurisdiction

 10   over D.H.S. or the United States for the claims alleged in his

 11   complaint.               As such, the Court should grant the motion and

 12   dismiss the action for lack of jurisdiction.

 13

 14   DATED:           May 11, 2012                        ANDRÉ BIROTTE JR.
                                                           United States Attorney
 15                                                        LEON W. WEIDMAN
                                                           Assistant United States Attorney
 16                                                        Chief, Civil Division

 17
                                                            /s/ Kevin B. Finn
 18                                                        KEVIN B. FINN
                                                           Assistant United States Attorney
 19
                                                           Attorneys for Federal Defendants
 20

 21

 22

 23

 24

 25

 26

 27

 28

      CV11.7237.20120511.KBF.Motion to Dismiss.DOC          8
